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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________

MARNIE O'BRIEN,                                     :
                      Plaintiff,                    :
                                                    :
                      v.                            :        Civil No. 2:19-cv-06078-JMG
                                                    :
THE MIDDLE EAST FORUM, et al.,                      :
                  Defendants.                       :
__________________________________________

                                              ORDER

       AND NOW, this 4th day of August, 2021, it is ORDERED that select portions of the

transcripts as indicated in the log notes on Friday, July 30, 2021 in the above-captioned case are

SEALED AND IMPOUNDED until further Order of this Court.



                                             BY THE COURT:



                                             /s/ John M. Gallagher
                                             JOHN M. GALLAGHER
                                             United States District Court Judge
